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                  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
Jun Yu
_______________________________

                  v                                              BILL OF COSTS
IDAHO STATE UNIVERSITY
_______________________________                                  Case # 4:15-cv-00430-REB
                                                                        _______________
                                                               6/1/20                       Plaintiff
Judgment having been entered in the above entitled action on _________________against _____________________________,
the Clerk is requested to tax the following as costs:

1. Clerks and Service Fees - removal fees, filing fees. The cost of private process servers is NOT
ALLOWED. Only Marshal’s service fees allowed.

2. Trial Transcripts - furnished upon request of court, or prepared pursuant to stipulation                        3346.50
3. Deposition Costs - original of noticing party and prevailing party’s copy of depositions used in the case;
reasonable fees of notary and deposition reporter of noticing party; video depositions costs. Deposition
summaries or counsel’s fees NOT ALLOWED                                                                            2298.13

4. Witness Fees - at statutory rate (28 USC § 1821). Mileage outside the district limited to 100 miles each
way absent prior court order. Expert witness fees at the same rate as other witness fees. Complete the
worksheet on the reverse of this form, and enter the total here.

5. Copies of Papers and Exhibits - Cost of exhibits attached to documents required to be filed and served;
exemplification fees; copies of preparing clerks record on appeal. Copies of motions, pleadings and other
routine case papers NOT ALLOWED.                                                                                   130.10

6. Maps, Charts, Models, Photographs, Computations and Summaries - Reasonable costs if admitted
into evidence. NO enlargements great than 8" x 10" allowed unless approved by the court. NO models
allowed absent an order of the court. Cost of compiling summaries, computations and statistical
comparisons is NOT TAXABLE.

7. Interpreter and Translator Fees - reasonable fees of interpreter allowed if the fee of witness is taxable.
Translator fee allowed if document is necessarily filed or admitted in evidence.

8. Docket Fees - Docket fees pursuant to 28 U.S.C. § 1923



Attach to your to cost bill an itemization and documentation for
requested costs in all categories.                                                                     TOTAL       5774.73
I declare under penalty of perjury that the foregoing costs are correct and were necessarily incurred in this action and that
the services for which fees have been charged were actually and necessarily performed. A copy of this bill was mailed to:


                                                                             Michael E. Kelly
Signature of Attorney: __________________________Name of Attorney _________________________________
     Idaho State University                                                   6-12-20
For: ____________________________________________________ Date: _________________
              Name of Claiming Party
                                    5774.73
COSTS ARE TAXED IN THE AMOUNT OF ______________AND INCLUDED IN THE JUDGMENT.

Clerk of Court        /s/ Jackie Hildebrand
                 By: _____________________________        March 25, 2021
                                                   Date: ___________________
                             Deputy Clerk
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                         WITNESS FEES (computation, cf. 28 U.S.C. 1821 for statutory fees)
                                                    ATTENDANCE        SUBSISTENCE         MILEAGE
                                                         Total              Total             Total         Total Cost
            NAME AND RESIDENCE                      Days             Days              Miles
                                                          Cost               Cost              Cost        Each Witness




                                                                                           TOTAL

                                                      NOTICE
Section 1924, Title 28, U.S. Code (effective September 1, 1948) provides:
“Sec. 1924. Verification of bill of costs.”
         “Before any bill of costs is taxed, the party claiming any item of cost or disbursement shall attach thereto
an affidavit, made by himself or by his duly authorized attorney or agent having knowledge of the facts, that such
item is correct and has been necessarily incurred in the case and that the services for which fees have been charged
were actually and necessarily performed.”
See also Section 1920 of Title 28, which reads in part as follows:
        “A bill of costs shall be filed in the case and, upon allowance, included in the judgment or decree.”
The Federal Rules of Civil Procedure contain the following provisions:
Rule 54 (d)
         “Except when express provision therefor is made either in a statute of the United States or in these rules,
costs shall be allowed as of course to the prevailing party unless the court otherwise directs, but costs against the
United States, its officers, and agencies shall be imposed only to the extent permitted by law. Costs may be taxed by
the clerk on 14 day’s notice. On motion served within 7 days thereafter, the action of the clerk may be reviewed by
the court.”
Rule 6(e)
         “Whenever a party has the right or is required to do some act or take some proceedings within a prescribed
period after the service of a notice or other paper upon him and the notice or paper is served upon him by mail, 3
days shall be added to the prescribed period.”
Rule 58 (In Part)
        “Entry of the judgment shall not be delayed for the taxing of costs.”
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                             Copies Charged From 3/16 to 5/17



Invoice Date     Invoice Number    Copy Expense              Total Amount of
                                                                      costs
3/7/2016         copies            317 pages Depo                    $31.70
                                   exhibits
7/8/2016         copies            304 pages Depo                     $30.40
                                   exhibits
7/21/2016        copies            308 pages Depo                     $30.80
                                   exhibits
7/25/2016        copies            349 pages Depo                     $34.90
                                   exhibits
5/25/2017        copies            23 pages student                    $2.30
                                   letters


                 Total                                              $130.10
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